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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

UNITED STATES OF AMERICA, §
v. § Criminal Action No. 17-46 (RBW)
KASSIM TAJIDEEN, §
Defendant. §
)
ORDER

 

Upon consideration of the parties’ Joint Motion to Continue Sentencing Date, and for
good cause shown, it is hereby

ORDERED that the parties’ Joint Motion to Continue Sentencing Date, ECF No. 222, is
GRANTED. It is fi,lrther

ORDERED that the sentencing currently scheduled for January 18, 2019, is
CONTINUED t<`) February 26, 2019, at 3:00 p.m.

so 0RDERED rhis@<d;mmary, 2019.

 

. WALTON
United States Distn'ct Judge

